                     Case 2:08-cr-00562-WBS Document 463 Filed 12/16/15   Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Eastern        District of        California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       2:08CR00562-12 WBS
          JESUS ALFONZO BARRAZA BARRAZA                                    )
                                                                           )    USM No: 18271-097
Date of Original Judgment:         6/3/2011                                )
Date of Previous Amended Judgment:                                         )    Hannah Labaree, Asst. Federal Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         DENIED.       GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                                     151 months as to Count 1;                                             121 months as to Count 1;
                                      48 months as to Count 7,                                              48 months as to Count 7,
                                     to be served concurrently                                              to be served concurrently
the last judgment issued) of           for a total term of 151           months is reduced to            for a total term of 121 months   .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated 6/14/2011 shall remain in effect.

IT IS SO ORDERED.


Order Date: December 16, 2015




Effective Date:                                                                          William B. Shubb, U.S. District Court Judge
                       (if different from order date)                                                  Printed name and title
